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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                    )        CASE NO. 1:20-cr-00115
                                             )
                Plaintiff,                   )        JUDGE DONALD NUGENT
                                             )
         -vs-                                )
                                             )        DEFENDANT’S MOTION TO
RUSSELL WHISENANT,                           )        REOPEN DETENTION PROCEEDINGS
                                             )        AND PERMIT TEMPORARY
                                             )        RELEASE
                Defendant.                   )

       Now comes Russell Whisenant, through counsel, and respectfully requests this Court

reopen detention proceedings and order his release on bond as a temporary release, pursuant to

18 U.S.C. § 3142(f)(2) and § 3142(i)(4). The current COVID-19 pandemic presents “a change of

circumstances” why Mr. Whisenant’s detention is no longer appropriate and Mr. Whisenant

poses no risk of flight or danger to the community.

I.     Procedural History

       Mr. Whisenent was arrested in connection with the instant case on or about December 11,

2019. A complaint was filed in federal court on December 10, 2019. Dkt. 1. On December 17,

2019, Mr. Whisenant waived his right to a detention hearing, while reserving the right to “revisit

the issue of detention at a later date should circumstances change.” Dkt. 4. An indictment was

returned was February 12, 2020. Dkt. 12. Since then, the case has remained pending as the

government has provided discovery and the parties have made attempts to resolve the case. Mr.

Whisenant has remained in pretrial detention since December 11, 2019.




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        Because of the COVID-19 pandemic, and Mr. Whisenant’s current health issues, he now

requests this Court release him on bond. Specifically, over the past several weeks, Mr.

Whisenant has been undergoing diagnostic tests relative to sever headaches and vision loss. Mr.

Whisenant worries that his symptoms may worsen and that his health may be in jeopardy. Mr.
                                                                                                                    1
Whisenant is suffering from a recurrence of a brain mass and is in need of medical assistance.

Mr. Whisenant is encountering a medical problem which, under normal circumstances, would be

nearly impossible to address while incarcerated. The COVID-19 pandemic exacerbates these

difficulties exponentially.

        Further, Northeast Ohio Correctional Center (NEOCC-CCA) reported its first positive

cases of COVID-19. Mr. Whisenant fears for his safety and well-being with his continued

detention. Mr. Whisenant requests the opportunity to be granted a temporary release on bond so

he can return to the community.

II.     Relevant Legal Standards

        “When reviewing a pretrial detention order of a magistrate judge, the Court acts de novo

and must make an independent determination of the proper pretrial detention or conditions for

release.” See United States v. Amir, No. 1:10-CR-439, 2011 U.S. Dist. LEXIS 75640, *9 (N.D.

Ohio Jul. 13, 2011) (internal quotation marks omitted); United States v. Pritchard, No. 5:08-MJ-

5017, 2008 WL 920434 (N.D. Ohio Apr. 3, 2008) (citing United States v. Rueben, 974 F.2d 580,

585 (5th Cir. 1992)). “[M]eaningful de novo review means that the district court should engage

in the same analysis, with the same options, under § 3142 as the magistrate judge.” United States

v. Yamini, 91 F. Supp.2d 1125, 1129 (S.D. Ohio 2000).




1
 NEOCC-CCA has provided counsel with extensive medical records of hospital visits and diagnostic testing that has
occurred while in custody. These records are available for inspection.

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       “The default position of the law . . . is that a defendant should be released pending trial.”

United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). “A defendant may be detained pending

trial only if a judicial officer ‘finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and

the community[.]’” Id. (quoting 18 U.S.C. § 3142(e)(1)) (alteration in Stone).

       The Court must impose the least restrictive conditions necessary to reasonably assure the

person’s appearance as required and the community’s safety. See 18 U.S.C. § 3142©. The statute

lists thirteen specific conditions that the Court may impose, 18 U.S.C. § 3142(c)(1)(B)(i) - (xiii),

plus “any other condition that is reasonably necessary to assure the appearance of the defendant

as required and the safety of any other person and the community,” 18 U.S.C. §

3142(c)(1)(B)(xiv).

III.   COVID-19 and the Change of Circumstances

       While Mr. Whisenant waived his right to a detention hearing in December, Dkt. 4, a

change of circumstances has arisen which warrant reconsideration of Mr. Whisenant’s detention,

that being COVID-19 pandemic. The statute on bail, 18 U.S.C. § 3142(f)(2) holds that even after

a detention has been ordered detained:

       The hearing may be reopened, before or after a determination by the judicial
       officer, at any time before trial if the judicial officer finds that information exists
       that was not known to the movant at the time of the hearing and that has a
       material bearing on the issue whether there are conditions of release that will
       reasonably assure the appearance of such person as required and the safety of any
       other person and the community.

Other district courts have held that the circumstances of COVID-19, in the context of the §

3142(f) factors, can constitute a change of circumstances to reopen bond proceedings. As the

district court found in United States v. Martin, 2020 WL 1274857, at *20 (D. Md. Mar. 17,

2020), COVID-19 “can indeed constitute new information having a material bearing on whether

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there are conditions of release that will reasonably assure the appearance of detained defendants

and secure the safety of the community.” See also United States v. Dodd, 2020 WL 1547419 (D.

Minn. April 1, 2020).

       Further, the Bail Reform Act provides for the “temporary release” of a person in pretrial

custody “to the extent that the judicial officer determines such release to be necessary for

preparation of the person’s defense or for another compelling reason.” 18 U.S.C. § 3142(i)

(emphasis added). The health risk to Mr. Whisenant, because of his medical condition, coupled

with the conditions at NEOCC, qualify as “compelling reason[s]” within 18 U.S.C. § 3142(i).

Other federal courts granted a temporary release under § 3142(i) due to COVID-19. See United

States v. Perez, No. 19 CR. 297 (PAE), 2020 WL 1329225, at *1 (S.D.N.Y. Mar. 19, 2020)

(temporarily releasing defendant under § 3142(i) due to the “heightened risk of dangerous

complications should he contract COVID-19”); United States v. Stephens, 2020 WL 1295155,

__F. Supp. 3d__, at *3 (S.D.N.Y. Mar. 19, 2020) (“the obstacles the current public health crisis

poses to the preparation of the Defendant’s defense constitute a compelling reason under 18

U.S.C. § 3142(i).”); United States v. Selna, 8:16-CR-76-JVS (C.D. Cal. Mar. 26, 2020)

(“Michaels has demonstrated that the COVID-19 virus and its effects in California constitute

‘another compelling reason’” justifying temporary release under § 3142(i)).

       As of April 14, 2020, the new strain of coronavirus (COVID-19), has infected over

1,900,000 people globally, leading to 127,518 deaths worldwide.2 Governor DeWine declared a

State of Emergency on March 9, 2020,3 and on March 11, 2020, the World Health Organization

2
 Coronavirus Map: Tracking the Spread of the Outbreak, The New York Times (April 14,
2020), at https://nyti.ms/2U4kmud (updating daily).
3
 https://ema.ohio.gov/Documents/pdfs/DeWine_Signs_Emergency_Order_Regarding_Coronavir
us_Response_0309.pdf


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officially classified COVID-19 as a pandemic.4 Governor DeWine issued a “stay at home” order

to prevent further spread of the virus. As of April 14, 2020, there have been 7,153 confirmed

cases of the virus in Ohio, 2,156 people have been hospitalized, and 309 have died.5 The

COVID-19 pandemic is “clearly out of the ordinary, uncommon, or rare” as “COVID-19 is twice

as contagious as the flu, and 20 times more deadly.”6 The virus is “highly infectious,” and can be

spread “easily and sustainably” from person-to-person.7 The virus can live on plastic and steel

surfaces for up to 72 hours8, and, powered by a single cough or sneeze, can be propelled in a gas

cloud that extends up to 27 feet in length.9

          The CDC has issued guidance that individuals at higher risk of contracting COVID-19

take immediate preventative actions, including avoiding crowded areas and staying home as

much as possible.10 The conditions in jails do not allow for an inmate to take the recommended

preventive actions and create an ideal environment for the transmission of contagious disease.11
4
 WHO Characterizes COVID-19 as a Pandemic, World Health Organization (March 11, 2020)
at https://bit.ly/2W8dwpS.
5
    https://coronavirus.ohio.gov/wps/portal/gov/covid-19/
6
 Governor Mike DeWine (@GovMikeDeWine), Twitter (Mar. 14, 2020, 2:19PM),
https://twitter.com/GovMikeDeWine/status/1238892579262992384?s=20

7
  See Centers for Disease Control and Prevention, How COVID-19 Spreads (accessed Apr. 3,
2020), https://www.cdc.gov/coronavirus/2019-ncov/prepare/transmission.html
8
  Neeltje van Doremalen et al., Aerosol and Surface Stability of SARS-CoV-2 as Compared with
SARS-CoV-1, NEW ENG. J. MED., 2 (2020), available at
https://doi.org/10.1056/NEJMc2004973
 (accessed Apr 2, 2020).
9
 Lydia Bourouiba, Turbulent Gas Clouds and Respiratory Pathogen Emissions: Potential Implications for Reducing
Transmission of COVID-19, JAMA (2020), https://jamanetwork.com/journals/jama/fullarticle/2763852 (accessed
Apr 2, 2020)
10
     https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/asthma.html
11
  Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases
45(8):1047-1055, at https://doi.org/10.1086/521910


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Inmates cycle in and out of jails from all over, and people who work in the facilities leave and

return daily, without effective screening. According to public health experts, incarcerated

individuals “are at special risk of infection, given their living situations,” and “may also be less

able to participate in proactive measures to keep themselves safe;” “infection control is

challenging in these settings.”12

       Given these circumstances and high risk of infection in jails and prisons, federal circuit

and district courts across the country have released defendants from pretrial detention, due to

COVID-19. See Xochihua-James v. Barr, No. 18-71460 (9th Cir. Mar. 23, 2020) (unpublished)

(sua sponte releasing detainee from immigration detention “[I]n light of the rapidly escalating

public health crisis”); United States v. Meekins, Case No. 1:18-cr-222-APM, Dkt. No. 75

(D.D.C. Mar. 31, 2020) (post-plea, pre-sentence release order releasing defendant with three

pending assault charges due to extraordinary danger COVID-19 poses to folks in detention);

United States v. Davis, No. 1:20-CR-9-ELH, Dkt. No. 21 (D. Md. Mar. 30, 2020) (releasing

defendant due to the “urgent priority” of decarcerating, to protect both the defendant and the

community, and to preserve Sixth Amendment rights in this perilous time); United States v.

Bolston, Case No. 1:18-cr-382-MLB, Dkt. No. 20 (N.D. Ga. Mar. 30, 2020) (releasing defendant

in part because “the danger inherent in his continued incarceration at the R.A. Deyton Detention

Facility . . . during the COVID-19 outbreak justif[y] his immediate release from custody”);

United States v. Hector, Case No. 2:18-cr-3-002, Dkt. No. 748 (W.D. Va. Mar. 27, 2020)

(granting release pending sentencing after Fourth Circuit remanded detention decision requiring

court to specifically consider extraordinary danger posed by COVID-19 to folks in prison);

12

“Achieving A Fair And Effective COVID-19 Response: An Open Letter to Vice-President Mike
Pence, and Other Federal, State, and Local Leaders from Public Health and Legal Experts in the
United States,” (March 2, 2020), at https://bit.ly/2W9V6oS.

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United States v. Kennedy, No. 5:18-cr-20315, Dkt. No. 77 (E.D. Mich. Mar. 27, 2020) (post-plea

presentence release of defendant whose pretrial release was revoked because “the COVID-19

pandemic constitutes an independent compelling reason” for temporary release and “is necessary

for Defendant to prepare his pre-sentence defense”); United States v. Mclean, No. 19-cr-380,

Dkt. No. (D.D.C. Mar. 28, 2020) (“As counsel for the Defendant candidly concedes, the facts

and evidence that the Court previously weighed in concluding that Defendant posed a danger to

the community have not changed – with one exception. That one exception – COVID-19 –

however, not only rebuts the statutory presumption of dangerousness, see 18 U.S.C. § 3142(e),

but tilts the balance in favor of release.”); United States v. Jaffee, No. 19-cr-88 (D.D.C. Mar. 26,

2020) (releasing defendant with criminal history in gun and drug case, citing “palpable” risk of

spread in jail and “real” risk of “overburdening the jail’s healthcare resources”; “the Court is . . .

convinced that incarcerating the defendant while the current COVID-19 crisis continues to

expand poses a greater risk to community safety than posed by Defendant’s release to home

confinement”); United States v. Harris, No. 19-cr-356 (D.D.C. Mar. 26, 2020) (“The Court is

convinced that incarcerating Defendant while the current COVID-19 crisis continues to expand

poses a far greater risk to community safety than the risk posed by Defendant’s release to home

confinement on . . . strict conditions.”).

        Given this, COVID-19 presents a change of circumstances warranting this Court reopen

bond proceedings and grant Mr. Whisenant a temporary release under 18 U.S.C. § 3142(f)(2)

and § 3143(i)(4) He requests this Court place him on house arrest with GPS monitoring so that

he can go home and obtain adequate health treatment in the community.




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                                      Respectfully submitted,


                                      /s/ Joseph P. Morse
                                      JOSEPH P. MORSE (0073298)
                                      323 West Lakeside , Suite 300
                                      Cleveland, Ohio 44113
                                      (216) 241-0520
                                       Fax: (216) 241-6961
                                      e-mail address: jpm@jmorse-law.com




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                        CERTIFICATE OF SERVICE

    I hereby certify that a copy of the foregoing Motion to Reopen Detention Proceedings

and Permit Temporary Release has been served upon all parties via this Court’ electronic

filing service.



                                     /s/ Joseph P. Morse
                                     Joseph P. Morse (0073298)
                                     Attorney for Russell Whisenant




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